Case 2:15-cv-01045-RFB-BNW   Document 581-3   Filed 08/13/18   Page 1 of 11




                   EXHIBIT 1
   Zuffa’s Requests to Seal and
  Plaintiffs’ Arguments Against
Case 2:15-cv-01045-RFB-BNW   Document 581-3   Filed 08/13/18   Page 2 of 11
Case 2:15-cv-01045-RFB-BNW   Document 581-3   Filed 08/13/18   Page 3 of 11
Case 2:15-cv-01045-RFB-BNW   Document 581-3   Filed 08/13/18   Page 4 of 11
Case 2:15-cv-01045-RFB-BNW   Document 581-3   Filed 08/13/18   Page 5 of 11
Case 2:15-cv-01045-RFB-BNW   Document 581-3   Filed 08/13/18   Page 6 of 11
Case 2:15-cv-01045-RFB-BNW   Document 581-3   Filed 08/13/18   Page 7 of 11
                                               Case 2:15-cv-01045-RFB-BNW                               Document 581-3               Filed 08/13/18              Page 8 of 11


                                                         THIRD PARTY
Document                                                 Description                                                                        Argument Against
                                                                                                                                            None of this testimony contains commercially sensitive information of competitive
Ex. 1, Fertitta Dep, 249:12-253:3;                       Testimony regarding
                                                                                                                                            significance. Zuffa has failed to show with specificity how it will be harmed by disclosure.

Ex. 3, Presentation titled “Marketing in Mixed Martial   Paradigm Sports Management Presentation, contains some generic information about   This document contains no commercially sensitive information. The information is too
Arts” (Mar. 2013), ZFL-12449194;                         advertising spending in various sports and viewer demographics.                    old to hold any competitive significance, as it relates to a presentation from 2013.
Ex. 8, Epstein Dep. 105:18-105:21, 106:22-106:25;        Non-specific references to third party documents.                                  This document contains no commercially sensitive information.
Ex. 14, Mersch Dep. 490:1-491:2;                         Personal information for third party.                                              Plaintiffs do not challenge.
Ex. 15, Batchvarova Dep. 198:1-3;                        Reference to an unknown individual.                                                This document contains no commercially sensitive information.
Ex. 18, Le Dep. 19:9-25:25, 98:1-98:21, 101:22- 102:10,
102:20- 104: 16, 105:11-105:25, 118:8-108: 13, 194:1-    Personal information redacted.                                                     Plaintiffs do not challenge.
194:21;
Ex. 22, Vera Dep: 241:19-241:22; 243:2;                  Personal information redacted.                                                     Plaintiffs do not challenge.
Ex. 54, Exclusive Promotional and Ancillary Rights
                                                                                                                                            Too old to be of competitive value (2017 is a typo - the contract is from 2007); Fitch
Agreement between Zuffa and Plaintiff Jon Fitch (Jan. 7, Zuffa fighter contract.
                                                                                                                                            doesn't fight for Zuffa anymore.
2017), ZFL-0414108 (SSN redacted);
Ex. 55, Promotional and Ancillary Rights Agreement
between Zuffa and Josh Shockley (May 27, 2014), ZFL- Zuffa fighter contract.                                                                Too old to be of competitive value.
0504184(SSN redacted);
Ex. 59, Email attaching Exclusive Commercial Rights
Agreement between Brandon Vera and One
                                                         Fighter contract with third party.                                                 Plaintiffs do not challenge.
Championship (July 22, 2014), LEPLAINTIFFS--
0042859;
Ex. 60, Email attaching Exclusive Promotional Fight
Extension Agreement between Jon Fitch and WSOF           Fighter contract with third party.                                                 Plaintiffs do not challenge.
(Feb. 7, 2014), Z.E._ 002617;
Ex. 61, Bellator Promotional Agreement,
                                                         Fighter contract with third party.                                                 Plaintiffs do not challenge.
SBPCL00002311;
Ex. 65, Quarry Dep. 243:11-14, 244:6-10;                 Personal information redacted.                                                     Plaintiffs do not challenge.
Ex. 66, Email from Michele Fitch to Heidi Seibert (May
                                                         Personal information redacted.                                                     Plaintiffs do not challenge.
14, 2012), Z.E. 001891;

Ex. 88, Declaration of Matt Hume (“Hume Decl.”)
                                                         Declaration from third party.                                                      Plaintiffs do not challenge.
(May 4, 2017), ONECHAMPJONSHIP000006;

Ex. 90, Exclusive Promotional Fight Agreement between
Plaintiff Fitch and MMAWC (WSOF) (Mar. 8, 2013), Fighter contract with third party.                                                         Plaintiffs do not challenge.
Z.E._002623;
Ex. 95, Declaration of Abraham Genauer (“Genauer
                                                      Declaration from third party.                                                         Plaintiffs do not challenge.
Decl.”) (Oct. 26, 2017);
Ex. 103, Text Messages Between Sean Shelby and UFC
                                                   Personal information redacted.                                                           Plaintiffs do not challenge.
Athlete (June 21, 2015), excerpts of ZFL-2699696;
Ex. 106, 2013-2014 UFC Fight Card Changes, ZFL-
                                                         Personal information redacted.                                                     Plaintiffs do not challenge.
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                                                                                                              Page 7
                                             Case 2:15-cv-01045-RFB-BNW                         Document 581-3                Filed 08/13/18            Page 9 of 11


                                                                                EXPERT REPORTS
                Document                                                           Description                                                                        Argument Against


                                             Zuffa has redacted more than half of the Professor Topel's report, redacting 163 out of 307
                                             total paragraphs. Many of the redactions relate to Dr. Singer's report, covering a wide range
                                             of topics, including how Dr. Singer calculated foreclosure share, but-for wage share, and
                                             damages; Dr.                                                                                  Dr. Topel's report does not contain any trade secret information, and
                                                                                                                                           Zuffa has not shown how it would be harmed by its disclosure. The
                                                                                                                                           redacted sections touch on nearly every facet of the claims and
                                                                                                                                           defenses in this litigation. Accordingly, the named Plaintiffs, the Class
                                                                                                                                           members, the public, and the press need access to this evidence in
                                                                                                                                  .        order to perform their important role of assessing the relative merits of
                                             Zuffa also redacts many of Dr. Topel's assertions on Zuffa's behalf, including that           the claims and defenses presented, exposing Zuffa’s actions to the
Expert Report of Professor Robert H.
                                                                                                                                           light to see whether Zuffa engaged in a scheme to suppress fighters’
Topel (“Topel I”)
                                                                                                                                           compensation, and—for the named Plaintiffs and Class members—in
                                                                                                                                           order to make important decisions about how to proceed in the
                                                                                                                                           litigation. Indeed, “in class actions—where by definition some
                                                                                                                                           members of the public are also parties to the case—the standards for
                                                                                                                                           denying public access to the record should be applied with particular
                                                                                                                                           strictness.” Shane Grp., Inc. v. Blue Cross Blue Shield , 825 F.3d 299,
                                                                                                                                           305 (6th Cir. 2016) (citation omitted).

                                                                                                                          among other
                                             things.


                                             Testimony refers to                                                                            This document contains no commercially sensitive information of
Excerpts from the Second Deposition of
                                                                                                                                            competitive significance. The document casts Zuffa in a negative light,
Dr. Hal J. Singer(“Singer Dep. II”)
                                                                                                                                            but embarrassment is not a grounds for sealing.

                                             Testimony refers to Dr. Singer's estimate of:
                                                                                                                                            None of this testimony contains commercially sensitive information of
Excerpts of First Deposition of Dr. Hal J.
                                                                                                                                            competitive significance. Zuffa has failed to show with specificity how
Singer (“Singer Dep. I”)
                                                                                                                                            it will be harmed by disclosure.




                                                                                                       Page 8
                                           Case 2:15-cv-01045-RFB-BNW                          Document 581-3                Filed 08/13/18             Page 10 of 11


                                                                                 EXPERT REPORTS
                Document                                                            Description                                                                       Argument Against

                                                                                                                                         Dr. Singer's report does not contain any trade secret information, and
                                            Zuffa redacted 86 out of 242 total paragraphs in Dr. Singer's report. The redactions cover a Zuffa has not shown how it would be harmed by its disclosure. The
                                            wide range of topics, including                                                              redacted sections touch on many of the most important aspects of the
                                                                                                                                         claims and defenses in this litigation. Accordingly, the named
                                                                                                                                         Plaintiffs, the Class members, the public, and the press need access to
Rebuttal Expert Report of Dr. Hal J. Singer
                                                                                                                                         this evidence in order to perform their important role of assessing the
(“Singer II”)
                                                                                                                                         relative merits of the claims and defenses presented, exposing Zuffa’s
                                                                                                                                         actions to the light to see whether Zuffa engaged in a scheme to
                                                                                                                          , among other suppress fighters’ compensation, and—for the named Plaintiffs and
                                            things.                                                                                      Class members—in order to make important decisions about how to
                                                                                                                                         proceed in the litigation.

                                                                                                                                         Dr. Topel's sur-rebuttal report does not contain any trade secret
                                                                                                                                         information, and Zuffa has not shown how it would be harmed by its
                                                                                                                                         disclosure. The redacted sections touch on many crucial aspects of the
                                           Zuffa redacted 13 out of 48 total paragraphs in the Topel Sur-rebuttal Report. The redactions claims and defenses in this litigation. Accordingly, the named
                                           cover a wide range of topics, including                                                       Plaintiffs, the Class members, the public, and the press need access to
Sur-Rebuttal Expert Report of Prof. Robert
                                                                                                                                         this evidence in order to perform their important role of assessing the
H. Topel (“Topel II”)
                                                                                                                                         relative merits of the claims and defenses presented, exposing Zuffa’s
                                                           among other things.                                                           actions to the light to see whether Zuffa engaged in a scheme to
                                                                                                                                         suppress fighters’ compensation, and—for the named Plaintiffs and
                                                                                                                                         Class members—in order to make important decisions about how to
                                                                                                                                         proceed in the litigation.


                                            Zuffa redacted 172 of 291 total paragraphs in the Dr. Singer's opening report. The redactions Dr. Singer's report does not contain any trade secret information, and
                                            cover a wide range of topics, including all of Dr. Singer's conclusions based on his expert    Zuffa has not shown how it would be harmed by its disclosure. Many
                                            analysis;                                                                                      of the proposed redactions relate to information that is public
                                                                                                                                           knowledge or it too old to have competitive significance. The redacted
                                                                                                                                           sections touch on many of the most important aspects of the claims
                                                               among other things.                                                         and defenses in this litigation. Accordingly, the named Plaintiffs, the
Expert Report of Dr. Hal J. Singer (“Singer Zuffa has redacted information that is part of the public record (¶ 43). See Cung Le v. Zuffa, Class members, the public, and the press need access to this evidence
I”)                                         LLC, No. 2:15-cv-01045-RFB-PAL, 2016 U.S. Dist. LEXIS 69813, at *23 (D. Nev. May 26,           in order to perform their important role of assessing the relative merits
                                            2016) (                                                                                        of the claims and defenses presented, exposing Zuffa’s actions to the
                                                                                                                                           light to see whether Zuffa engaged in a scheme to suppress fighters’
                                                                    Zuffa has redacted public statements as reported in the press by       compensation, and—for the named Plaintiffs and Class members—in
                                            Zuffa's former owner and CEO Lorenzo Fertitta owner about Zuffa's revenues (¶ 24 & n.43). order to make important decisions about how to proceed in the
                                                                                                                                           litigation. The public's right of access outweighs any interest Zuffa
                                                                                                                                           may have in preventing disclosure of Dr. Singer's report.




                                                                                                       Page 9
                                          Case 2:15-cv-01045-RFB-BNW                         Document 581-3                 Filed 08/13/18          Page 11 of 11


                                                                               EXPERT REPORTS
                Document                                                          Description                                                                       Argument Against
                                                                                                                                         Dr. Blair's report does not contain any trade secret information, and
                                                                                                                                         Zuffa has not shown how it would be harmed by its disclosure. Many
                                                                                                                                         of the proposed redactions are from public sources. The redacted
                                           Zuffa redacted 17 of 79 total paragraphs in Dr. Blair's report. The redactions cover a wide
                                                                                                                                         sections touch on many crucial aspects of the claims and defenses in
                                           range of topics, including
                                                                                                                                         this litigation. Accordingly, the named Plaintiffs, the Class members,
Expert Report of Roger D. Blair (“Blair                                                                                                  the public, and the press need access to this evidence in order to
Rep.”)                                                                                                                                   perform their important role of assessing the relative merits of the
                                                                                                                                         claims and defenses presented, exposing Zuffa’s actions to the light to
                                                                                                                                         see whether Zuffa engaged in a scheme to suppress fighters’
                                           among other things.
                                                                                                                                         compensation, and—for the named Plaintiffs and Class members—in
                                                                                                                                         order to make important decisions about how to proceed in the
                                                                                                                                         litigation.




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